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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

Father Doe 246, on behalf of his minor
                                    )
child, Jane Doe 246,                )
                                    )
                    Plaintiff,      )                         C.A. No.: 2:16-cv-224-PMD
                                    )
             v.                     )                                    ORDER
                                    )
Berkeley County School District,    )
                                    )
                                    )
                    Defendant.      )
____________________________________)

       This matter is before the Court on Father Doe 246’s motion for approval of a settlement

that the parties have reached in this action (ECF No. 24). Father asks the Court approve a

settlement that includes the payment of $85,000.00, less attorney’s fees and costs, to Father to

hold in trust for his minor daughter, Jane Doe 246.

       Having reviewed Father’s motion, documents submitted to the Court relating to the

distribution of the $85,000.00 payment, and the record in this case, the Court finds the settlement

is fair, reasonable, benefits all parties, and is in Jane Doe 246’s best interests. The Court further

finds that the proposed settlement satisfies the requirements of Local Civil Rules 17.01–17.03

(D.S.C.), as well as section 62-5-433 of the South Carolina Code. Therefore, the Court hereby

approves the settlement.

       Father has agreed to pay his attorneys a fee of 40% of the settlement amount, plus costs.

40% of $85,000.00 is $34,000.00, and Father’s attorneys have provided satisfactory evidence

that they incurred $6,348.65 in costs on this case. The Court finds that fee and those costs fair

and reasonable, and so it approves payment of those amounts out of the settlement. The net

proceeds for Jane Doe 246 shall be $44,651.35.
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       It has come to the Court’s attention that there is a dispute among Father’s current

attorneys and former attorney regarding the amount of the attorney’s fee and the division of that

fee between counsel. The Court will address that matter through a separate order and with

further proceedings, if necessary. In no way, however, does the Court intend for that dispute to

delay the payment of settlement proceeds to Father. Father Doe 246 is hereby authorized to

receive payment immediately of the net proceeds of the settlement payment, and he is ordered to

hold it in trust for Jane Doe 246 until she reaches the age of majority.

       AND IT IS SO ORDERED.




January 30, 2017
Charleston, South Carolina




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